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  IN THE UNITED STATES DISTRICT COURT
  FOR THE SOUTHERN DISTRICT OF FLORIDA
  -----------------------------------------------------------------x
  JIANGMEN BENLIDA PRINTED                                             CM/ECF
  CIRCUIT CO., LTD., and ROK PRINTED
  CIRCUIT CO., LTD.,                                                   Civil Action No.: 21-60125-CIV-
                                                                       SCOLA/SNOW
                               Plaintiffs,

             -against-

  CIRCUITRONIX LLC,

                                Defendant.
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                    Plaintiffs Jiangmen Benlida Printed Circuit Co., Ltd.
                    and ROK Printed Circuit Co., Ltd.’s Memorandum
                       of Law in Opposition to Defendant’s Motion to
                           Dismiss the Third Amended Complaint




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                                     Preliminary Statement
         This memorandum is respectfully submitted in behalf of plaintiffs Jiangmen Benlida

  Printed Circuit Co., Ltd. and ROK Printed Circuit Co., Ltd. in opposition to defendant

  Circuitronix LLC’s motion to dismiss the third amended complaint. Defendant’s motion should

  be denied for the following reasons. 1

         First, the parties have indeed mediated this case. It is meritless to say that ROK did not

  participate in the mediation, as (a) the principals and members of both Benlida and ROK

  attended the mediation sessions, and (b) this firm represents both Benlida and ROK and while

  the mediation sessions were ongoing, CTX even consented to the amendment of the complaint to

  name ROK as a plaintiff, and thus CTX was aware that this firm was speaking in behalf of ROK

  during the mediation process.

         Second, Circuitronix argues that plaintiffs failed to name Circuitronix Hong Kong Ltd. as

  a party to this action, and that joining CTX-HK will vitiate diversity jurisdiction. However,

  CTX-HK is not a necessary party to this action, as CTX agreed to be responsible for its Hong

  Kong affiliate’s obligations and debts. (See “Business Authorization” of January 1, 2014, exhibit

  “A” to accompanying Mazzola declaration). In fact, by the clear terms of the authorization,

  CTX-HK was merely an agent for CTC: “For purposes of our company’s business, Circuitronix,

  LLC. hereby authorize CIRCUITRONIX (HONG KONG), LIMITED to place orders to your

  company on our behalf.” [sic] Moreover, defendant has failed to show in its moving papers that




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   In this memorandum of law, plaintiffs employ the same abbreviations as in the defendant’s
  motion. Thus, “Benlida” refers to Jiangmen Benlida Printed Circuit Co., Ltd.; “ROK refers to
  ROK Printed Circuit Co., Ltd.; “CTX” refers to Circuitronix, LLC; “CTX-HK” refers to
  Circuitronix Hong Kong Ltd.; and “TAC” refers to the third amended complaint.
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  the courts of Hong Kong or China – if a subsequent action were brought there – would not give

  res judicata or collateral estoppel effect to any judgment or determination adverse to plaintiffs.

         Third, the TAC is far from a shotgun pleading that fails to distinguish between the claims

  of Benlida and ROK, inasmuch as defendant is quite aware that ROK ceased manufacturing and

  selling goods in 2018 and is only named as a plaintiff herein because it is a signatory to the

  governing manufacturing agreement.

                                              Argument
  Point I:       ROK Participated in Mediation.
         As stated in the accompanying Mazzola declaration, mediation sessions were conducted

  on May 24th, 25th, and 28th with mediator Joseph P. Farina. Present during the sessions were

  Huang Xiangjiang (“Mr. Huang”) and Huang Hanchao (“Douglas”), who are principals and

  members of both Benlida and ROK, as identified in the TAC. See ¶¶ 2a, 2b, 4a, and 4c. While

  the mediation was ongoing, on May 27th our office forwarded to CTX’s counsel (see exhibit “B”

  to Mazzola declaration) the proposed third amended complaint, requesting counsel’s consent to

  amending it to add ROK as a party plaintiff, which CTX’s counsel agreed to. CTX’s counsel was

  clearly aware that this law firm was acting in behalf of both Benlida and ROK, and that both

  Benlida and ROK were represented by the Huangs at the mediation. Moreover, if the parties had

  reached a settlement, it naturally would have been papered with a standard settlement agreement

  that resolved all claims between the parties and their affiliates. Unfortunately, despite good faith

  efforts to mediate the dispute, there remain issues of fact and law that must be resolved by the

  court. To suggest that this action is premature, after spending over eighteen hours with mediator

  Farina, is quite tendentious.




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  Point II:      CTX-HK is Not a Necessary Party Because CTX Agreed to be
                 Responsible for its Obligations and Liabilities, and Because
                 CTX-HK Acted as an Agent for CTX.
         A.      CTX is Attempting to Game Diversity Jurisdiction, to Try to
                 Get this Case into State Court. CTX-HK, if Named as a Party,
                 Would be no More than a Nominal Party, not a Real
                 Substantial Party.
         Federal courts have jurisdiction over controversies between “a State, or the Citizens

  thereof and foreign States, Citizens, or Subjects” by virtue of 28 U.S.C. §1332(a)(1) and U.S.

  Const., Art. III, §2. “Citizens” upon whose diversity a plaintiff grounds jurisdiction must be real

  and substantial parties to the controversy. Navarro Sav. Ass'n v. Lee, 446 U.S. 458, 460 (1980);

  see also Coal Co. v. Blatchford, 11 Wall. 172, 177 (1871); Marshall v. Baltimore & Ohio R. Co.,

  16 How. 314, 328-329 (1854); McNutt v. Bland, 2 How. 9, 15 (1844). The Eleventh Circuit has

  defined “nominal or formal parties” as those that are “neither necessary nor indispensable to the

  action.” Lopez v. Martens, No. 19-24609-CIV, 2020 U.S. Dist. LEXIS 175911, at *5 (S.D. Fla.

  Sep. 24, 2020) (quoting Thermoset Corp. v. Bldg. Materials Corp of Am., 849 F.3d 1313, 1317

  (11th Cir. 2017)) (quoting, in turn, Navarro Sav. Ass'n, 446 U.S. 458 at 461).

         Here, CTX-HK is not an indispensable party under Rule 19(b), as demonstrated below.

  Rather, CTX is attempting to join CTX-HK in this action solely to defeat diversity jurisdiction.

  This court must disregard nominal or formal parties and determine jurisdiction solely upon the

  citizenship of real parties to the controversy.

         In Thermoset Corp., the court held that “the ultimate test for whether a defendant is

  nominal is whether in the absence of the defendant, the Court can enter a final judgment

  consistent with equity and good conscience which would not be in any way unfair or inequitable

  to plaintiff.” Thermoset Corp. 849 F.3d at 1317. Under Lopez and Thermoset Corp, Federal Rule

  of Civil Procedure 21 gives the court power to “dismiss a non-diverse party … in order to


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  preserve jurisdiction over the rest of the case” if no party would be prejudiced by the dismissal.

  Thermoset Corp. at 1318-19.

         Benlida and CTX are the real parties to the controversy. According to the Business

  Authorization (exhibit “A” to Mazzola declaration), CTX-HK is solely an agent acting on behalf

  of CTX. CTX assumed all obligations and debts of CTX-HK in the relevant transactions.

  Therefore, CTX is the real party to the controversy, not CTX-HK. The attempted joinder of

  CTX-HK is an effort to gain a tactical advantage in litigation through the addition of a nominal

  non-diverse party to vitiate subject matter jurisdiction and delay the proceedings.

         B.      CTX-HK is Not an Indispensable Party; Rather, it Would be,
                 at Most, a Nominal Party and Defendant’s Motion to Dismiss
                 Therefore Must be Denied.
         Even if CTX-HK were found to be a necessary party under Rule 19(a), dismissal is not

  warranted because CTX-HK is not an indispensable party under Rule 19(b). In deciding a motion

  to dismiss under Rule 12(b)(7), the court must undertake a two-step inquiry. If the absent party is

  found to be necessary under 19(a), the court must then determine whether or not the party is

  “indispensable.” Philippines v. Pimentel, 553 U.S. 851 (2008). If a party is found to be

  indispensable, then the case cannot continue without the absent party.

         Specifically, Rule 19(a) addresses whether a party is necessary to the action and whether

  it is feasible to add the necessary party to the action, whereas 19(b) sets forth a nonexclusive list

  of factors to be considered in determining whether a party is indispensable and whether the case

  should be dismissed if the indispensable party cannot be added.

         Under Rule 19(a), the court must first decide whether an absent party is necessary. See

  Int'l Imps., Inc. v. Int'l Spirits & Wines, No. 10-61856-CIV, 2011 U.S. Dist. LEXIS 156203, at




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  *6 (S.D. Fla. July 26, 2011); see also Molinos Valle del Cibao v. Lama, 633 F.3d 1330, 1344

  (11th Cir. 2011). The rule requires the joinder of:

         A person who is subject to service of process and whose joinder will not
         deprive the court of subject-matter jurisdiction if:
         A. in that person's absence, the court cannot accord complete relief
            among existing parties; or
         B. that person claims an interest relating to the subject of the action and is
            so situated that disposing of the action in the person's absence may:
                i.   as a practical matter impair or impede the person's ability to
                     protect the interest; or
               ii.   leave an existing party subject to a substantial risk of incurring
                     double, multiple, or otherwise inconsistent obligations because
                     of the interest.
  Fed. R. Civ. P. 19(a)(1).

         CTX-HK is not a necessary party under Rule 19(a)(1)(A) since complete relief quite

  certainly can be accorded among existing parties, due to CTX’s acceptance of responsibility for

  the debts and obligations of its Hong Kong affiliate in the Business Authorization. (Exhibit “A”

  to Mazzola declaration). In fact, by the clear terms of the authorization, CTX-HK was merely an

  agent of CTX.

         Likewise, under the next provision of the rule – 19(a)(1)(B)(ii) – CTX-HK is not a

  necessary party because the court can accord complete relief solely among Benlida, ROK, and

  CTX because CTX has agreed to be responsible for CTX-HK’s debts and obligations.

         The addition of CTX-HK is not necessary because, while CTX-HK may have appeared

  on various invoices in the underlying transactions, CTX-HK only acted as an agent of CTX.

  Therefore, CTX-HK is not a necessary party under 19(a)(1)(B)(i) or 19(a)(1)(B)(ii) because

  CTX-HK’s interest will naturally be protected under the agreement with CTX.




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             When making the decision whether a person is necessary party to litigation, the courts

  look at the pleadings and affidavits as well as evidence introduced by the parties. See Int’l Imps.,

  Inc. (citing Estes v. Shell Oil Co., 234 F.2d 847, 849 n.5, 850 (5th Cir. 1956)); Citizen Band

  Potawatomi Indian Tribe of Okla. v. Collier, 17 F.3d 1292, 1293 (10th Cir. 1994)). “[T]he

  moving party must produce evidence showing that an absent party has an interest that may be

  harmed by being absent from the case.” Int’l Imps., Inc. (citing Citizen Band, 17 F.3d at 1293).

             In determining whether CTX-HK is a necessary party under Rule 19(a), this court should

  note that CTX has failed to present any evidence that it or CTX-HK are at risk of paying twice

  for the same liability. CTX has failed to meet its burden of proof in its moving papers because

  the only “proof” is the vague assertion that, “Benlida or ROK could potentially attempt a second

  bite at the apple by seeking recovery from CTX-HK in a subsequent lawsuit.” 2 Moreover, CTX

  has failed to show in its moving papers that the courts of Hong Kong or China – if a subsequent

  action were brought there – would fail to give res judicata or collateral estoppel effect to any

  judgment or determination adverse to plaintiffs here in the Southern District of Florida.

             As for Rule 19(b), it provides:

             If a person who is required to be joined if feasible cannot be joined, the court must
             determine whether, in equity and good conscience, the action should proceed among the
             existing parties or should be dismissed. The factors for the court to consider include:
             (1)      The extent to which a judgement rendered in the person’s absence
                      might prejudice that person or the existing parties.
             (2)      The extent to which any prejudice could be lessened or avoided by:
                      a. Protective provisions in the judgment;
                      b. Shaping the relief; or
                      c. Other measures;
             (3)      Whether a judgement rendered in the person’s absence would be
                      adequate; and

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      See defendant’s motion to dismiss [DE 27] at 14.

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            (4)    Whether the plaintiff would have an adequate remedy if the action
                   were dismissed for nonjoinder.
  Fed. R. Civ. P. 19(b).

            Generally, the three classes of interests served by Rule 19’s joinder provisions are: “(1)

  the interests of the present defendant; (2) the interests of potential but absent plaintiffs and

  defendants; (3) the social interest in the orderly, expeditious administration of justice.”

  Tankersley v. Albright, 514 F.2d 956 at 965-966 (7th Cir. 1975). The court must examine the

  claims and interests likely to be asserted by the joined parties and the absent entities. Philippines

  at 868.

            CTX argues that plaintiffs failed to name CTX-HK as a party to this action because

  joining CTX-HK would vitiate diversity jurisdiction. However, CTX-HK is not a necessary party

  to this action, as CTX agreed to be responsible for its Hong Kong affiliate’s obligations and

  debts. (See exhibit “A” to Mazzola declaration). CTX has failed to demonstrate that CTX-HK

  even has the assets to satisfy a judgment if one were obtained against it in this action. Thus, CTX

  has failed to demonstrate that CTX-HK faces any real potential liability, as there is nothing to

  show that it would be anything other than a judgment-proof CTX affiliate used as an agent and

  business facilitator entirely controlled by CTX or its principal Rishi Kukreja.

            CTX is attempting to destroy diversity jurisdiction by adding CTX-HK even though CTX

  signed an agreement to be responsible for its Hong Kong affiliate’s obligations and debts. CTX’s

  interest in joining CTX-HK is solely for the purpose of vitiating subject matter jurisdiction – and

  forestalling the ultimate judgment day – since, according to the Business Authorization (exhibit

  “A” to Mazzola declaration), CTX will be responsible for any obligations or debts owed by

  CTX-HK.




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          Finally, the social interest in the orderly, expeditious administration of justice is

  overwhelmingly in opposition to defendant’s motion to dismiss, because CTX is attempting to

  impermissibly join a non-diverse party, with no interest in the outcome of the case, to gain a

  tactical advantage in litigation and vitiate subject matter jurisdiction. CTX is simply trying to

  game the system, to delay the action by requiring its dismissal on grounds of lack of diversity in

  order that it be brought in state court, with the consequent requirement that CTX-HK be served

  in Hong Kong via Hague Convention rules, which would likely delay the litigation by six months

  to a year because of the convention’s special service requirements and translation of the

  complaint into Chinese. 3 Based on the balancing of interests – along with the holdings in Lopez

  and Thermoset Corp. – CTX-HK must be considered a nominal party and not a necessary or

  indispensable party to this litigation.

  Point III:       As ROK Ceased Manufacturing and Selling Goods in 2018 and
                   None of the Invoices at Issue Concern ROK, There Can be No
                   Confusion as to Which Allegations Concern CTX’s Breaches of
                   Duty to Pay for Goods Invoiced and Delivered.
          Each unpaid invoice is separately identified by invoice number in the TAC. As explained

  in the accompanying declaration of Huang Hanchao (exhibit “C” to the Mazzola declaration), the

  “CCT-BLD”-denominated invoices identified in paragraphs 13 through 260 are Benlida invoices

  issued to CTX; the “BLDCCT-HK”-denominated invoices identified in paragraphs 261 through

  431 are Benlida invoices that were issued to CTX-HK which, according to the Business

  Authorization, are the responsibility of CTX. Since, as shown above, CTX-HK is not a necessary

  party to this action, and since ROK stopped manufacturing and selling products in 2018, there

  can be no confusion. (See declaration of Huang Hanchao, exhibit “C” to Mazzola declaration).



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   See U.S. Department of State website, noting that Hong Kong is a signatory to the Hague Convention.
  https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-Information/HongKong.html

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           “Rule 8(a) requires only a short and plain statement of the claim showing that the pleader

   is entitled to relief. … [T]he liberal notice pleading standards … do not require that a plaintiff

   specifically plead every element of a cause of action. What the pleader need not do is worry

   about the particular form of the statement or that it fails to allege a specific fact to cover every

   element of the substantive law involved. … [¶] [I]t is … necessary that a complaint contain

   either direct or inferential allegations respecting all the material elements necessary to sustain a

   recovery under some viable legal theory. … [T]he pleading must contain either direct allegations

   on every material point necessary to sustain a recovery on any legal theory or contain allegations

   from which an inference fairly may be drawn that evidence on these material points will be

   introduced at trial.” Roe v. Aware Woman Center for Choice, Inc., 253 F. 3d 678, 683 (11th

   Circuit 2001) (citations and internal punctuation omitted).

           Thus, each allegation as to each unpaid invoice could itself suffice as a properly pled

   claim for breach of contract. One could pick out of a hat any one of paragraphs 13 through 431,

   and it could stand on its own as an independent cause of action for breach of contract. For

   example, paragraph 200 alleges as follows:

           200.    Invoice CCT-BLD-19080601 was issued by plaintiffs to Circuitronix
                   for a total of $7,971.63. To date, Circuitronix has paid no portion of the
                   amount owed.
           In moving to dismiss, CTX has not denied that the goods that were the subject of the

   invoices were actually delivered (as alleged in paragraphs 440 and 441 of the TAC), and thus the

   allegations in paragraph 200 suffice to put CTX on notice of what the claim against it is – viz.,

   under the CCT-BLD invoice issued by Benlida, CTX had an obligation to pay $7,971.63, which

   it has failed to pay.




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           Likewise, paragraph 400 alleges as follows:

           400.   Invoice BLDCCT-HK19080202 was issued by plaintiffs to Circuitronix
                  for a total of $9,762.08. To date, Circuitronix has paid no portion of the
                  amount owed.
           There having been no denial that the goods that were the subject of this invoice were

   actually delivered, the allegations in paragraph 400 suffice to put CTX on notice that it is

   claimed that the invoice issued by Benlida to CTX-HK remains unpaid, and that CTX – being

   responsible for the obligations and liabilities of CTX-HK – owes $9,762.08 therefor. Simple.

           CTX can’t possibly be confused; rather, under notice pleading principles, the TAC

   adequately apprises it of the claims against it. There is no unclarity that might infringe its ability

   to defend itself against the claims in the TAC. It can argue that the goods that were the subject of

   any particular invoice were defective, were not in accordance with specifications, were delivered

   late, or otherwise, or that payment was already made, but it certainly can’t claim surprise.

                                                Conclusion
           For all the foregoing reasons, defendant Circuitronix LLC’s motion most be denied in its

   entirety.

   Dated: New York, New York
          June 28, 2021

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